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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

 IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
 LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC
 This document relates to:

 Estate of Robert Hammons v Monsanto Co,
 Case No. 3:22-CV-5286

                   PLAINTIFF’S RESPONSE TO ORDER ENFORCING
                      PRETRIAL ORDER NO. 40 [DKT. NO. 18389]

       Comes the Plaintiff, by and through counsel, and files Plaintiff’s Response to Order

Enforcing Pre-Trial Order No. 240 [Dkt. No. 18389] and states as follows:

       1.      Plaintiff submitted a claims package to Special Master Ken Feinberg on June 1,

2023. Plaintiff received a settlement offer from Special Master Ken Feinberg on January 18,

2024. (See attached Exhibit A)

       2.      Upon reviewing the Court’s Order Enforcing Pretrial Order No. 240, realized that

Special Master Ken Feinberg wanted a written acceptance or rejection of the offer despite the offer

being expired, deemed rejected, and null and void per the March 15, 2024, correspondence.

       3.      Plaintiff has complied with this Court’s Pre-Trial Order No. 240 by timely

submitting the requested documentation to Special Master Ken Feinberg and participating in the

settlement program. On May 24, 2024, Plaintiff’s counsel sent correspondence to Special Master

Ken Feinberg rejecting the settlement offer. (See Exhibit B)

       WHEREFORE, Plaintiff does hereby request that this Honorable Court find that

Plaintiff is in compliance with Pretrial Order 240 and do not dismiss Plaintiff’s case with

prejudice.

       Respectfully submitted this 24th day of May 2024.
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                                  Respectfully Submitted,

                                  ANDERSON & VAUGHN, PLLC

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